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                     EXHIBITA
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                                  EEOC Poliqt Toward
                                  UndocarnentedAliens
                              Law Offices of Carl Shusterman
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                           Returnto Homenuge

            end to a Friend




         The U.S. Equal Employment Opportunity Commission




         FOR IMMEDIATE RELEASE                          COMIACT:   Reginald We1
         Tuesd.ay, October 25, 1"999                               David Gr
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           EEOCISSUESGUIDAJ{CEO
                REMEDIESFOR
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          UNDOCIJMENTEDWORKE
          LINDERLAWSPROHIBITNG
               EMPLOYMENT
              DISCRIMNATION
         WASHINGTON- The U.S. EqualEmplolm,entOpportunityCommission
         (EEOC)today issuedan enforcementguidancemodifying its position on
         availableto unauthorizedworkersunderfederalemploymentdisorimination
         The guidanceaddresses  recentlegal developmentsandexplainsthe basic
         rsmediesavailableto this classof workersunderEEOC- enforcedlaws.
         "This guidancemakesclearthat the anti-discriminationlaws underthe
         Commission'sjurisdiction protectall employeesacrossthe counfiy, regardless
         theirwork status."saidEEOCChairwomanIda L. Castro."Unauthorized
         areespeciallyvulnerableto abuseandexploitation.It is imperativefor
         to fully understandthat discriminationagainstthis classof employeeswill not
         toleratedandthat they will be responsiblefor appropriateremediesif they
         the civil rightslaws."

         ChairwomanCastrofurther explainedthat the new guidanceis fully consistent
         with the nation'simmigration laws,principallythe ImmigrationReform and
         Conhol Act (IRCA). "If employerswerenot held responsiblefor discrimination
         againstunauthorizedworkers,it would createan incentivefor unscrupulous
         ernployersto engagein unlawful workplaceconduct,"saidMs. Castro."This
         would directlyunderminethe enforcementof the immigration laws by
         encouragingthe employmentof unauthorizedworkers.It would alsoharm
         authorizedworkerswho might be deniedjobs or be subjectedto a work
         environmentwhich tolerateddisctimination."

         The new guidanceaddresses    the availability of remediesunderthe following
         statutes,wherean employerhasunlawfully discriminatedagainst
         workers:Title VII of the Civil RiglrtsAct of 1964,the Age Disqriminationin
         EmploymentAct, the Americanswith DisabilitiesAct, andthe EqualPayAct.

         The guidanceexplainsthat undocumented    workersareentitledto the same
         remediesas any otherworkersbackpay,reinstaterrentif the employeewas
         unlawfullyterminated,hiring if the employeewas deniedajob dueto
         discrimination,other appropriateinjunctive relief, damagesand attorneys'fees
         exceptin the very nrurow situationswherean awardwould directly conflict wi
         the immigration laws. The guidancealsoemphasizes     that unauthorizedworkers
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         arefullyprotected bythe retaliationprinciplesof the federalanti-dissrimination
         laws.

         The new guidancereplacesEEOC'sPolicy Guidance:Effect of the tnmigration
         Reform andConkol Act on the RemediesAvailable to UndocumentedAliens
         UnderTitle Vtr (N-915.040)issuedon April 26,1989.The Commissionre-
         evaluatedits position on back pay in light of importantlegal developmentssi
         1989regardingthe availability of backpayto undocumentedworkersunderthe
         closelyrelatedNational Labor RelationsAct. In addition,the Commission
         addressed other changesin the law since1989,principally the creationof a
         darnagesremedyunderTitle VII andthe Americanswith Disabilities Act.
         The guidancewillbe availableon EEOC'sweb site(www.eeoc.gov)       shortly
         releaseof the document.It canalsobe obtainedby calling or writing to EEOC's
         Office of Communications  andLegislativeAffairs, 1801L Stueet,  NW,
         Washington,D.C. 20507.
         The EEOC enforcesTitle W of the Civil RightsAct of 1964,which prohibits
         employmentdiscriminationbasedon race,color, religion, sex,or nationalori
         the Age Dissriminationin EmploymentAct, which protectsworkers40 and
         the EqualPayAct; the Americanswith DisabilitiesAct, which prohibits
         discriminationagainstqualified individualswith disabilitiesin the private
         andstateandlocal goverrments;prohibitionsagainstdiscriminationaffecting
         personswith disabilitiesin the federalgovernment;andsectionsof the Civil
         RightsAct of 1991.




         Thispage was last modifi.edon October26, 1999.

         The U.S.Equal ErnploymentOpportunityCommission
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         1. SUBJECT:EnforcementGuidanceon RemediesAvailableto
         WorkersUnder FederalEmploynent DiscriminationLaws.

         2. PURPOSE:Thepurposeof this EnforcementGuidanceis to setforth the
         EmploymentOpportunityCommissions (EEOC)position regardingremedies
         availableto unauthorizedworkersin chargesfiled underfederalemployment
         discriminationstatutes.This EnforcemsntGuidancerescindsand supersedes
         "PolicyGuidance:Effect of the ImmigrationReformandControlAct of 1986
         (IRCA) on the RemediesAvailable to UndocumentedAliens Under Title VII,"
         915.040(April 26, 1989).
         3. EFFECTMEDATE: Uponissuance.

         4. E)(PIRATIONDATE: As an exceptionto EEOCOrder205.001,Appendix
         Attachment4, sectiona (5), this Notice will remainin effect until rescindedor
         superseded.

         5. ORIGINATOR:CoordinationandGuidanceServices,Office of Legal
         6. INSTRUCTIONS:This supersedes   the "PolicyGuidance:Eflect of the
         hnmigrationReform and Control Act of 1986(IRCA) on the RemediesAv
         to UndocumentedAliens UnderTitle MI," N-915.040(April 26,1989).Di
         the 1989documentandfile this asAppendixB of Section622,Volumetr of
         ComplianceManual.

         7. SUBJECTMATTER: Remediesavailableto unauthorizedworkersin
         employmentdiscriminationcases.
         t0-26-99                  /s/
         Date                      Ida L. Castro
                                   Chairwoman




         INTRODUCNON
         This EnforcementGuidanceaddresses      the availabilityof remediesin caseswh
         an ernployer(l)is fo.tnd to havedissriminatedagainstunauthorizedworkers(2)i
         violationof Title VII of the Civil Rightsof 1964,theAmericanswith Disabiliti
         Act (ADA), section501 of the RehabilitationAct the Age Discriminationin
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         EmploymentAct (ADEA), andthe EqualPayAct (EPA). Basedon important
         legaldevelopments, the Commissionis replacingits April 26,1989,guidance
         Title MI remediesfor undocumentedworkers.The Commissionnow
         thatunauthorizedworkerswho aresubjectedto unlawful employnent
         discriminationare entitledto the samerelief asothervictims of disqrimination,
         subjectto certainnarrow exceptionswhich arediscussedbelow. The pertinent
         legal developmentsinclude recentcasesconcerningremediesfor unauthorized
         workersunderthe National LaborRelationsAct, changesin the law regarding
         after-acquiredevidenceandmixed motive cases,andthe addition of damages
         the rangeof availableremedies.

         First, theNational Labor RelationsBoard (NLRB) andthe SecondCircuit
         concludedthat unauthorizedworkersareeligible for backpay underthe Nati
         LaborRelationsAct (NLRA). A.P.R.A.Fuel Oil BLtyersGroup,320N.L.R.B.
         408,151L.R.R.M.1,209(1,995),    affd' NLRBv. A.P.R.A.Fuel Oil Group,134
         F.3d50 (2dCr.1997).The A.P.R.A.ratronale,discussed   in moredgtailbelow,
         appliesequallyto the federalemploymentdiscriminationstatutes.(3)

         Second,in the contextof an after-acquiredevidencecase,the SupremeCourt
         that employeewrongdoingdoesnot shielda discriminatingemployerfrom
         liability underthe civil rights laws.(a)Similarly, CongressamendedTitle VII to
         providethat employersareliable whendiscriminationis part of the reasonfor
         adverseemploymentaction,evenif it canshowit would havetakenthe same
         actionabsentthe discrimination.(5)   Both changesrecognizethat deterrenceis a
         centralgoal of the federalemploymentdiscriminationlaws andthat failure to
         penalizediscriminatingemployerswill undenninethat goal.

         Third, Congresshasaddedcompensatory    andpunitive damagesto the rangeof
         availableremediesunderTitle VII andthe ADA. It did sobecauseit had
         concludedthat existingremedieswereineffectiveandthat "additionalremedies
         underFederallaw areneededto deterunlawful harassmentandintentional
                                           Inasmuchasundocumentedworkersare
         discriminationin the workplace.u(6)
         particuladyvulnerableto employerabuse,awardingmonetaryremedies
         irrespectiveof a worker'sunauthorizedstatuspromotesthe goal of deterring
         unlawful discriminationwithout underminingthe purposesof the immigration
         laws.

         Finally,the ADA hadnot beenenactedwhenthe 1989documentwasissued.
         guidancehighlights the fact that the principlesgovemingremediesfor
         unauthorizedworkersapply to all of the federalanti-discriminationstatutes
         enforcedby the EEOC,including the RehabilitationAct andthe ADA, aswell
         Title VII, the EPA, andthe ADEA.




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         DISCUSSION
         I. Requirementsof fmmigation Law
         Prior to 1986,the immigration laws did not prohibit employersfrom employing
         unauthorizedworkers,althoughsuchworkerswere subjectto deportation.In
         enactingthe ImmigrationReform andConhol Act of 1986(IRCA), however,
         Congressmadeit unlawful for employersto knowingly employindividuals
         arenot legally authoized.tobe ernployedin the United Statesandwho were
         afterNovember6, 1986.(')

         To addressconcemsthat the ennployersanctionprovisionswould cause
         dissriminationagainstsomenationalorigin groups,IRCA prohibits ernployers
         that havefrom four to fourteenemployees,andarethereforenot coveredby Ti
         VII, from discriminatingon the basisof nationalorigin againstU.S. citizens
         nationalsandnon-citizenswith work authorization.(8) It alsoprohibits crtiza
         statusdiscriminationanddiscriminatorydocumentarypracticesby all
         who havefour or more emp1oy""s.(e)  IRCA's nondisqriminationrequire,ments
         enforcedby the Office of SpecialCounselfor ImmigrationRelatedUnfair
         EmploymentPractices(OSC),Civil RightsDivision,at the U.S. Deparfinentof
         Justice.(lo)
         II. Coverageof Unauthorized Workers Under FederalDiscrimination Laws
         The federaldiscriminationlaws protectall employeesin the United States,
         regardlessof their citizenshipor work eligibility. Employersmay no more
         discriminateagainstunauthorizedworkersthantheymay discriminateagainst
         otheronployees.(rr)  EEOCwill thereforeassurethatin its enforcement  of the
         laws,unauthorizedworkersareprotectedto the samedegreeasall other

         Recognizingthat federallabor laws makeno distinctionbasedon alienage,
         havesimilarly generallyheld that all workersareprotectedby thoselaws,
         regardless
                  of citizenshipor work eligibiliry.ttz)
         In the leadingcaseof Sure-Tanv. NLRB,467 U .5. 883 (1984),the Supreme
         addressed the coverageof undocumented workersin the contextof theNLRA
         explainedthat aflording thoseworkersthe protectionof Americanlabor laws
         promotesthe purposesof both thelaborandimmigrationlaws.

         The employerin Sure-Tanretaliatorilyreportedfive employeesto the
         andNaturalizaionService(n{S) becausethe employees       had exercisedNLRA-
         protectedrights. The employerhadbeenawarethat the workerswere
         undocumentedandhad not reportedthemto the INS until theyparticipatedin
         union activities.It was thereforeclearthat retaliationwasthe reasonthat he
         reportedthem.The Court concludedthat applyingthe labor law to
         workersservedthe purposesof immigrationlaws:
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                for Americanworkers. . . . Application of the NLRA helpsto
                assurethat the wagesand employmentconditionsof lawful
                resideirtsarenot adverselyaflectedby the competitionof illegal
                alien employeeswho arenot subjectto the standardtermsof
                employment.If an employerrealizesthat therewillbe no
                advantageunderthe NLRA in preferringillegal aliensto legal
                residentworkers,anyince,lrtiveto hire suchillegal aliensis
                conespondinglylessened.In turn, if the demandfor undocume,lrted
                aliensdeclines,theremay thenbe fewer incentivesfor aliens
                themselvesto enterin violation of the federalimmigration laws.
         467U.S. at893-94.This principleappliesequallytothe discriminationlaws
                               jurisdiction.
         within the Commission's

         Moreover,the EEOC agreeswith the NLRB andthosecourtsthat have
         that the Sure-Tandecisionis unaffectedbythe subsequentenactnentof IRCA.
         A.P.R.A.,l5t L.R.R.M. at 1215("[C]ongress. . . [in enactingIRCA] expressly
         approvedthe view of the SupremeCourt in Sure-Tanthatundocumented
         areentitledto established  laborprotections.'),affd, NLRB v. A.P.R.A.Fuel Oil
         BuyersGroup,134F.3d 50, 55 (2d Cir. 1gg7)(Ntn4;.tt:) Failureto protect
         workerswould undermineenforcementof not onlythe anti-discriminationlaws,
         but alsothe immigration laws. Without suchcoverage,employershavean
         incentiveto hire workersu/ho cannoteffectivelyprotestunlawfully
         treatment.As the EleventhCircuit observed,in the contextof the FLSA,
         "coverageof undocume'nted    workershasafn efFectsimilar to that of IRCA], in
         that it offsetswhat is perhapsthe most athactivefeatureof suchworkers- their
         willingnessto work [in substandardconditions.Without that offset] . . . emplo;
         would havean incentiveto hire,hotr.r(la)
         III. Remedies Available to Unauthorized Workers Who Are Victims
         Unlawful Discrimination
               A. Purposesof RemediesProvisionsof FederalEmployment
               Discrimination and Immigration Laws
         The remediesprovisionsof the federalanti-discriminationlaws areintended
         to deteremploynent discriminationandto restorethe injured ernployeeto the
         position slhewould havebeenin absentthe discrimination.Somerernedies,
         asrequiring the employerto stopthe discriminatoryactivities,adoptcorrective
         measures,post notices,or expandreqruitnent, ssryeprimarily to preventfuture
         discrimination.Otherremedies,suchasinstatement,reinstatement,or
         serveprimarily to makethe victim whole.

                          serveboth purposes:they deterfuture discrimination(Is)and
         Monetaryre,rnedies
         makethe victim whole. Back pay is so cenfralto the re,medialschemethat the
         SupremeCourt hasruled that, whereliability is found,back pay is a presumpti
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         remedyand "shouldbe deniedonly for reasonswhichoif appliedgenerally,
         not frushatethe cenkal statutorypurposesof eradicatingdiscrimination
         throughoutthe economyandmakingpersonswhole for injuries suffered
         pastdiscrimination.u(16)
                                Compelptory andpunitivedamagesalsoservemake-
         wholeanddeterrence  purposes.("rMoreover,becausea privatesuit serves
         importantpublic pu{poses,the litigant will not be deniedrelief evenif s/trehas
         engagedin wrongdoing.(ttl

         The provisionsof the ImmigrationandNationality Act (INA) servea different
         purpose- the deterrenceof illegal immigration.The INS apprehendsand
         thosewho haveviolated applicableimmigrationlaws andimposessanctionson
         ernployerswho knowingly employunauthorizedworkershired afterNovernber
         1986.Thepurposesandremedialschernes      of immigrationanddiscriminationla
         arenot at oddswith eachother.Thus.whereanunauthorizedworker is found
         havebeena victim of employmentdiscrimination,rernedyawardscanand
         fulfill the goalsof the employmentdiscriminationstatuteswithout undermining
         the purposesof the immigrationlaws.

               B. Availabilitv of Remediesfor Unauthorized Workers
                     1. Injunctive Relief to PreventFature Discrimination

         Re,medies that serveonly to preventfuture discriminationareunaffectedby the
         immigrationlaws andrerrain availableto redressviolations of the employment
         disqimination laws without regardto an employee'swork status.Suchinjuncti
         relief may include, for example,ordersto postnoticesthat the employerhas
         found to havediscriminated,ordersto stopthe discriminatorypractioes,orders
         purgepersonnelrecordsof informationregardingdiscriminatoryactions,and
         ordersto adoptsomespecificcorrectiveaction,suchasimplementingnew hiri
         procedures,keepingdataon all disciplinaryactions,or providing taining.
                     2. fnstutementor Reinstatement

         Underfederalerrploymentdiscriminationlaws,victims of discriminatory
         to hire or disqriminatorytenninationarepresumptivelyentitledto instatemento:
         reinstatement.(te)The Commissionconcludesthat the samepresumptionapplies
         unauthorized   workerswho werehiredon or beforeNovember6,1.986because
         IRCA doesnot prohibit employersfrom continuingto einployworkershired on
         beforethat date.(20)This presumptionalsoappliesto workershired after
         Novsrnber6,1986 unlessthe employerknowsthatthe workeris unauthorized,      i
                                                             dependson being ableto
         which casethe worker'seligibility for reinstate,rnent
         satisfuIRCA'sverificationrequirements                      time.(''l
                                                  within a reasonable
         T\e Sure-TanCourt held that unauthorizedworkersareprotectedby the NLRA
         andrernandedthe caseto the Boardto determinewhat remedieswere appropri
         in light of the factthatthe workershad left the countryandit wasnot clear
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         whethertheyhad returned.(22)        The Courtplacedonly one conshainton the
         remediesthe Board could order;namely,anyoffer of reinstatementwasto be
         conditionedon the workers'lawful reentry.The Court imposedthat restriction
         avoid encouragingillegalreentryandtherebyunderminingthe purposeof the
         immigration l-,,,
         immimo*ia-
                       law.("'  In so doing, A^^
                            Q3) r^ -^ ,{^;-^
                                               the Court
                                                   f1^,,*
                                                          madeclear
                                                          *-,{^ nloon }]^o} 4]^o t',nt!|"*ol original
                                                                      that the workers'^*i.il-t
         illegal entry did not precludereinstatementor backpay.

         At the trmeSure-Tanwasdecided,employerswerenot prohibited from
         unauthorizedworkers.ln A.P.R.A.,the SecondCircuit considered  whether,by
         enactingIRCA to make employingunauthorizedworkersillegal, Congressal
         theSure-Tanrule that unauthorizedworkerswere entitledto relief.

         As in Sure-Tan,theA.P.R.A.employerknowinglyemployedunauthorized
         workersandretaliatedagainstthem for particrpatingin union activity. InA.P.R
         however,the workershad re,mainedin the United Statesuntil the time of the
         decision.The Board concludedthat "if full remediesarenot granted,the
         illegitimate economicaAvantage    to unscrupulousemployersthat knowingly
         employundocumentedworkershas[a] . . . corrosiveeffect on congressional
         policiesrespectingthe workplace. . . ."(24)To avoida conflict with IRCA's
         prohibition againsterrploying unauthorizedworkers,the Board orderedthat the
         of[er of reinstatementbe conditionedon the workers'abilitv. within a
         period of time, to satisfr IRCA's normalverification of work eligibility
         requirements.In afErmingthe Board'sorderof conditionalreinstatement,the
         SecondCircuit explainedttratthe Board "quite clearlytailorfed] the remedyfor
         the violation of the NLRA to the restrictionsof' IRCA.("r In addition,the court
         observedthat the Board'sremedy,"felicitously keepsthe Board out of the
         of determiningan employee'simmigrationstatus,leavingcompliancewith IR
         to the privatepartiesto whomthe law applies....the B;3rd is not chargedwith
         enforcsmentof the complexU.S. immigrationlaws."('ol
          Like the Board,the EEOCis not chargedwith the enforcementof IRCA and
          shouldnot participatein "the processof determiningan ernployee'simmi
          status."Therefore,EEOCwill neithercollectnor evaluateevidsnceregardinga
          worker'sstatus.
                       3, Back Pay and Damages

          Unauthorizedworkersare entitledto backpay andappropriatedamageson the
          samebasisasotherworkers,unlessthe awardwould conflict with the purposes
          the immigration laws. In the greatmajority of instances,monetaryawardsdo
          conflict with the pu{posesof immigrationlaws,but enhancethem.Without
          monetaryawards,including damages,employerswho areunscrupulousmay
          considerpenaltiesunderimmigrationlaw to be ofFsetby the savingsof employi
          unauthorizedworkers,thus defeatingthe objectivesof immigration, civil rights,
          andlabor laws and allowing employersto profit from their own wrongdoing.(''l



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         Thereareno limitations on damagesfor unauthorizedworkers,beyondthose
         which would apply in any othercase.However,thereis a narrow limitation on
         availability of backpay. To fulfill the requirementsof the immigration laws,
         Sure-TanCourt ruled that "in computingbackpay,the employeesmust be
         unavailablefor work (andthe accrualof backpay thereforetolled) during any
         periodwhen they were not lawfully entitledto be presentand employedin the
         United51u1"r.r'(28)The Commissionconstrues     this languageto limit backpay
         relief only where,asin Sure-Tan,theworker is unavailablefor work by virtue
         being out of the country.(2e)

         The Commissionadoptsthis interpretationfor severalreasons.The Supreme
         Court,in Sure-Tan,didnot hold that the employees'original unlawful entry
         precludedawardsof reinstatementor backpay. Its reversalof the appellate
         awardof six monthsback pay was,instead,becauseit regardedasunduly
         speculativethe appellatecourt'ssurmisethat, absentthe unlawful retaliation,
         workerswould haveworked for anothersix months.(3o)     In addition, " Sure-Tan
         gaveno indication that it was overrulinga significantline of [NLRB] precedent
         that disregardsa discriminatee's legalstatus,asopposedto availabilityfor
         in detennininghis or her eligibility for backpay."(3l)
          The Commissionconcludesthat IRCA doesnot precludeawardingbackpay
          damagesto unauthorizedworkersbecause,asthe SecondCircuit hasobserved,

                [while] IRCA establishedsanctionsfor ernployetswho knowingly
                hire or continueto e,nrployillegal aliens,. . . and alsointroduced
                proceduresto assurethat undocumented     woikers arenot ableto
                gain employmentin the United States,. . . IRCA doesnot
                materially changethe policy considerations    underlyingthe previous
                decisions. . . . The primary purposeof IRCA wasto makeit more
                difficult to employundocumented     workersandto punishthe
                employerswho offer    jobs to theseworkers. . . . Congresssoughtto
                reducethe availability ofjobs for undocumentedworkerswithout
                adverselyaffectingworking conditionswithin thosejobs.
         A.P.R.A.,134F.3dat 55.Q2)

          Significantly,the conclusionthat employersmust makemonetaryawardsto
          victims of discrirninationdespitelack of work authoization comportswith the
          rules governingcasesin which the employeris gurlty of disqimination but the
          employeeis alsogullty of wrongful actsthat would havemotivatedthe
          to terminatethe employmentrelationship. The governingprinciple is that,
          because monetaryremedies    servenot only rernedialbut alsodeterrence
          employeewrongdoingdoesnot bar relief.(33)

          In short,employerswho discriminateagainstunauthorizedworkersareliable
          monetaryrelief,including compensatorypunitive, or liquidateddamages,to


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         sameextentasfor authorizedworkers.An enrployeris not liable for backpay
         accruingduring anyperiod during which the worker is unavailablefor work
         becauses/heis out of the counbry.(34)  In addition,backpay will stopaccruingif
         the worker is reinstated,or, within a reasonableperiod of time afterbeing
         instatsmentor reinstatement,(3s) the worker cannotshowwork eligibility.
                      4. Remediesfor Dismimination in the Termsand Conilitions of Employment
                      For Failure to Promote

         The undocumentedstatusof workersis neverajustification for subjectingthem
         discriminatorytermsor conditionsof ernploynentor for failing to promote
         Thus,for example,workerswho havebeendiscriminatorilyundercompensated
         harassedwhile working areentitledto all appropriaterelief, including fullback
         pay, for the period worked, evenif theyhavesubsequentlyleft the country.
         were clearly "available"for work for periodsduring which they were actually
         working.
                      5. Renedies in Casesof Renliation

          Unauthorizedworkersareparticularlyvulnerableto threatsto reportthem to
          If sucha threator report is madebecausea worker opposedunlawful
          discriminationor participatedin a proceedingunderthe anti-discriminationla
          it constitutesunlawful retaliation.In everycasein which the errployer asserts
          the worker is unauthorizedandappearsto haveacquiredthat information after
          that worker complainedof discrimination,EEOCwill determinewhetherthe
          informationwas acquiredthrough aretali.atoryinvestigation.(36) If th"
          investigationwasretaliatory the employeris liable for monetarydamagesfor
          retaliationwithout regardto the worker's actualwork statusaswell asfor
          appropriateequitablerelief.
                      6.AfrorneystFeesand Costs

          Attorneys'feesand costsareavailableto unauthorizedworkerson the same
          asto otherworkerswho areprevailingpartiesunderlaws enforcedby the
          Commission.(37)Attomeys'feesandcostsareavailablein mixed motivescases,
          eventhoughreinstaternent,backpay, anddamagesarenot.(38)

                C. Limitations on Remedies:Mixed Motive and After-Acquired
                EvidenceAnalysis
          As in any discriminationcase,an employermay be ableto limit the remedies
          availablefor its discriminatoryactsif it oanprovethat it actedfrom mixed
          motives,i.e.,thatit would havetakenthe sameactionevenabsentthe
          discrimination,(3e)or that, after the discriminatoryadoit acquiredevidencethat
          would have causedit to take the same adverseaction.(4o)A worker's
          statuscanbe a legitimatereasonthat may form the basisfor a mixed motive or
          after-acquiredevidencedefenseandtherebylimit the availableremedies.


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         In mixed motive cases,the employercanbe liable for attorneys'feesand
         injunctive relief, but the complainingpartyis not entifledto reinstatement,back
         pay, or any damages.(ot)  In after-acquiredevidencecases,if the errployer can
         showthat it would not haveemployedthe personafter learningof his or her
         unauthorizedstatus,the worker would not typicallybe entitledto reinstatement
         andthe period during which backpay accrueswould be cut offas of the date
         the empioyerdiscoveredthe unauthorizedstatus.(a2)   Punitive damagesand
         damagesfor emotionalharm would be unaffectedby the after-acquired
         evidence.(43)




          1. To simplifuthe discussion,theterm "ernployer"in this documentincludes
          only coveredemployersbut alsolabor organizationsand employmentagencies.
          The principlesin the guidancealsoapplyto federalemployers.

          2. For pu{posesof this document,the term "undocumentedor unauthorized
          worker" means,with respectto errploymentat a particulartime, onewho is not
          cttrzenornationalofthe United Statesandis neither(1) lawfully admittedfor
          permanentresidencein the United States,nor (2) authorizedby law to work.
          ImmigrationandNationality Act, asamendedby the ImmigrationReform and
          ControlAct of 1986,8 U.S.C.$ 1324a(hXl);seealso8 C.F.R.$ 274a.1.
          3. The interpretationof the backpayprovision of the NLRA is relevantto Title
          VII sinceTitle VII's ubackpayprovisionwasexpresslymodeled     on the back
          provision of the National Labor Relations Acl.."Albemarle Paper Co. v. Moody
          422U.5. 405,41,9(1975).The conclusionin the 1989document,that
          unauthorizedworkerswho hadbeendiscriminatorilyterminatedor not hired
          not entitledto backpay, accordedwith the position of the NLRB at that time.

          4. McKennonv.NashvilleBannerPublishingCo.,5l3 U.S.352(1995).
          5. Section703(m)of Title VlI,42 U.S.C.$ 2000e-2(m).

          6.42 U.S.C.$ 19S1a,      note.Seea/soH.Rep.No.40(t),102dCong.,1" Sess.       69,
          reprintedin 1991U.S.C.C.A.N.549,607(.Making employersliable for all
          - economicand otherwise- which areincured asa consequence        of prohibited
                                                                to future actsof
          discriminatiol, . . . will serveasa necessarydete,rrent
          discrimination,both for thoseheld liable for damagesaswell asthe employer
          communityasa whole. . . . Back pay asthe exclusivemonetaryremedyunder
          Title VII hasnot servedas an effectivedeterrent,and,whenback pay is not
          available. . ., thereis simplyno deterrent.").



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         7. 8 U.S.C.E I324a.Criminalpenaltiescanbeimposedin casesinvolving a
         pattemor practiceof knowingly employingunauthorizedworkers..Id.Congress
         further amendedthe ImmigrationandNationality Act in 1.990,imposingcivil
         penaltieson individuals who provide fraudulentimmigration documents.8 U.S.
         5 1324c(1e94).
          8. 8 U.S.C.$ 132ab(aX1).

         9. 8 U.S.C.$ 1324b(a)(1XB)  and$ 1324b(a)(6).IRCA's    protectionagainst
         citizenshipdiscriminationappliesonly to U.S. citizensor nationals,permane,rt
         residents,refugees,asylees,andtemporaryresidents.Permanentresidents,
         however,must apply for naturalizatanwithin six monthsof eligibility to
         within theprotectedclass.8 U.S.C.$ 132ab(a)(3).                nationals,and
                                                           U.S. citizenso
         individuals with work authorizationarealsoprotectedby IRCA's prohibition
         againstunfair documentarypractices,suchasdiscriminatorilyrequestingmore
         differentdocumentsthanrequiredby 8 U.S.C.$ l324abor refusingto honor
         documentsthat appeargenuine.8 U.S.C.g 1324b(aX6).

          IRCA's nondisc:riminationprovisionsarenot directly germaneto the rernedies
          issuesdiscussedin this guidance.The referencesto IRCA in this guidance
          only to the employersanctionprovisions.

          10. Chargesraising issuesunderthoseprovisionsshouldbe referredto OSCas
          providedin the Memorandumof Understanding(MOU) betweenOSC and
                  . e g .5 5 1(F
          6 3Fe d R           8 e b .3 ,1998) .

          ll. SeeEspf.noza v. Farah Mfg. Co.,414U.S. 86 (1,973)(Title VII protects
         citizensagainstrace,color, sex,religious,andnationalorign discrimination),'
         EEOCv. HaciendaHotel,881 F.2d 1504,l5l7 (9th Cir. 1989)(plaintiffswere
         subjectto Title VII's protectionsnotwithstandingtheir statusasundocumented
         workers); Riosv. EnterpriseAss'nSteamfitters   Local Union638of U. A.,860
         F.2d1,168,  1L73Qd Cir. 1988)(same).    But seeEgbunav.TimeLife Libraries,
         Inc., 153F.3d 184(4th Cir. 1998),cert.denied,119S.Ct.1034(1999),in whi
         the court took the contraryview: that an applicantwho is unauthorizedhasno
         causeof actionunderTitle VII for an allegedlydiscriminatoryrefusalto hire.
         the reasonsdiscussedin this guidance,the Commissiondisagreeswith the F
         Circuit.
          12.While this conclusionis basedin part on the fact thatthe laborlawsprotect
          "anyindividual,"the samerationaleappliesto the EqualPayAct, which, al
          part of the Fair Labor StandardsAct (FLSA), refersto "employees"ratherthan
          "anyindividual." Like Title VII, the FLSA containsno exemptionfor
          unauthorized  workers. Patel v. QualityInn South,846F.2d 700,704(1lth Cir.
          1988)  "[N]othing  in IRCA or its legislativehistorysuggests
                                                                     that Congress
          intendedto limit the rights of undocumented. . . fworkers]underthe FLSA . .
          . ."),cert.denied,489   U.S. 1011(1989).


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         13.SeealsoEEOCv. SwitchingSystems        Div. of RockwellIn{l Corp.,783F.
         Supp.369,374(N.D. nl. 1!192)("Title VII's protectionsextendto workerswho
         maybe in this countryeitherlegally or illegally"; however,no Title MI violati
         becauseemployer'spolicy discriminated,if at all, only on the basisof citizenshi
         andnot nationalorign) (post-IRCA);EEOCv. Tortilleria "La Mejor,'758F.
         Supp.585,591(E.D.Cal.1991)(same);andPatel,846F.2dat704             (FLSA
         appliesto undocumented    workerspost-IRCA).But seeEgbuna,153F.3d 184
         (becauseIRCA rendersunauthorizedworkersunqualifiedto work, an
         unauthorizedworker cannotchallengehiring discrimination).Cf,,EEOC v.
         HaciendaHotel,881F.2d1,504,1517      n.l1 (9thCir. 1989)("althoughwe need
         decidethe issuein this case[which arosepre-IRCA], it may well be that URCA
         changesthe mix of policy considerations  underlyingthe caselaw which
         our conclusionthat undocumentedemployeesmay recoverback pay in a Title
         action") (citation omitted).
          14.Patel,846F.2dat7o4.SeealsoA.P.R.A.,151L.R.R.M.at 1215("Congress
          believedthat providing . . . [unauthorizedworkers]the sameprotections. . .
          affordedto Americanemployeeswasthe most efFectivemeansof eliminating
          economicincentivesfor employersto hire undocumented. . . [workersfu),qffd,
          134F.3dat56.

          15.

                             facedonly the prospectof an injunctive order,they
                If e,rnployers
                would havelittle incentiveto shunpracticesof dubiouslegality. It
                is the reasonablycertainprospectof a [monetary]awardthat
                'providefs]the spuror catalystwhich causesenrployersandunions
                to self-examineandto self-evaluatetheir e'mploymentpractices
                andto endeavorto eliminate,so far aspossible,the last vestigesof
                anunfortunateandignominiouspagein this county's history.'
         AlbemarlePaper Co. v. Moody,422U.5. 405,417-18(1975)(citationomitted).
          1,6.ld.at421..
          17.For detailedinformation on appropriatecompensatoryandpunitive damage
          awardsunderTitle VII andthe ADA, see"EnforcementGuidanceon
          CompensatoryandPunitive DamagesAvailable Under $ 102 of the Civil Ri
          Act of 1.991," EEOCCompliance    Manual(BNA) N:6071,6076(July 14,1992
          Liquidateddamagesareavailablefor violations of the EqualPayAct andfor
          willful violations of the ADEA andtrack the amountof the back pay award.
          Section7(b)of theADEA,29 U.S.C.$ 626(b),andSection16(b)of theFLSA,
          u.s.c.$2160).
          18.McKennon,513U.S. at 358,citingAlexanderv. Gardner-Denver
                                                                    Co.,41.5
          u.s. 36,45 (1974).


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         19.See,e.g.,Roushv.KFC Nat'l Management     Co.,10F.3d392,398(6thCir.
         1993),cert. denied,513U.S. 808 (1994)(ADEA); Dukev. Uniroyal,Inc., 928
         F.2d L4L3, 1424(4th Ctr.), cert.denied,502U.S. 963(1991)(ADEA); Henry v
         LennoxIndus.,lnc,768F.2d746,752(6thCtu.1985)(TitleVII). Of course,
         presumptioncanbe overcome.For example,the employermaybe ableto show
         that the employeewould not havegottenthejob evenabsentthe discrimination.

         20. INS regulationsprovide that suchworkersare "grandfathered"andnot subj
         to IRCA'semploymentverificationrequirements.   8 C.F.R.$ 274a.7(a).The
         regulationsfurtherprovide that wrongful terminationfollowed by reinstatement
         shouldnot be considereda breakin servicesufficient to costthoseworkersthei
          "grandfathered"
                       status.8 C.F.R.5 27aa.2@)(1xviiix5).
          21. Exceptin this very ruurow circumstance,employersmay not requestor
          reexamineI-9 documentsof workersretumingfrom a discriminatorydischarge.
          U.s.c. $ 132ab(a)(6); 8 c.F.R. $ 27aa.2@)(1)(viii).
          22. Sure-Tan,467U.S. at 904-A6.INSpermittedtheSure-Tanplaintiffs to
          the countryvoluntarily in lieu of deportation,andthey did so immediately.

          23.ld.
          24.4.P.R.A.,
                    151L.R.R.M.a|7216.
          25.A.P.R.A.,134
                       F.3d50,57.

          26.rd.
          27. Grantngunlawful workersfull redressfor violations . . . shouldact asa
          deterrentto suchunprincipledandopportunisticemployers,andlevel the
          competitiveplayrngfield betweenthem andthe vastmajority of employersin
          United Statesthat recognizeandrespectthe rights of their employeesandthat
          carefullyfollow the proceduresthat IRCA requires.

                    L.R.R.M.at 1276,affd, 134F.3dat 56.SeealsoPatel,846F.2d
         A.P.R.A.,151
         704-0s(FLSA).

          28.467U.S.at 903.
          29.T\e SecondandNinth Circuitssupportthis position.A.P.R.A.,134F.3d at
          (post-IRCA);Rios,860F.2d.1168(2d Cir. 1988)(pre-IRCA);Local 512,
          Warehouseand Offi.ceWorkers'Unionv.NLR&,795F.2d705(9thCir. 1986)
          (pre-IRCA).

          The SeventhCircuit took a contraryposition n Del Rey Tortilleria, Inc. v.
          976F.2d 1115(7th Cu..1,992),holding thatSure-Tarprohibitsawardsof back
          pay to undocumentedworkersunderthe NLRA. However,in his dissent,Judge



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         Cudahynotedthat the SupremeCourt'sreferenceto employeesbeing "lawfully
         entitledto be presentand employedin the United States,"was a quotefrom the
         decisionthat he wrote for the Circuit in Sure-Tan,andthat he wasreferringto
         workerswho werenot in the countryandcouldnot legallyrefum.Id. at ll23-
         Moreover,the SeventhCircuit explicitly declinedto decidewhetherthe same
         would applyto Title VII. Id. at 1122n.7. T\atrule shouldnot applyto Title
         the ADA, or the ADEA becausepart of the court'srationalewasthat "the award
         provisionsof the NLRA areremedial,not punitive,in nature."Id. at 1119.In
         contrast,Title VII, the ADA, andthe ADEA provide for punitive damages
         (ADEA liquidateddamagesarepunitive in nature),andback payunder those
         stafutesseryesnot only a remedial,but alsoa deterrentfunction. SeeAlbemarle
         PaperCo.v. Moody,422U.5. at 41.8-19,      421.
          The Commissionis persuadedthat JudgeCudatry'sdissentandthe decisionsof
          the SecondandNinth Circuit aremore soundlyreasonedandmore consistent
          the languageandpurposesof the employmentdiscriminationlaws.

          30.Sure-Tan,467
                        U.S.at 900-01.
                                                                 (9thCir.
          31.SeeA.P.R.A.,134F.3dat 54,atingLocal512,795F.2d7A5,717
          1986)(emphasisadded).

          32. This conclusionis supportedby IRCA's legislativehistory. The re,portof
          HouseEducationandLaborCommitteeon IRCA stated,inter alia,the

                 [t]he committeedoesnot intendthat anyprovision of this Act
                 would limit the powersof Stateor Federallabor standardsagencies
                 suchasthe . . . Equal EmploymentOpportunityCommission. . . to
                 remedyunfair practicescommittedagainstundocumented
                 employeesfor exercisingtheir rights beforesuchageirciesor for
                 engagngin activitiesprotectedby theseagencies.To do otherwise
                 would be counter-productiveof our intent to limit the hiring of
                 undocumentedemployeesandthe depressingeflect on working
                 conditionscausedby their employrrnent.
          H.R.Rep.No. 99-682(tr),99thCong.,2d Sess.8-9 (1986),reprintedin 1986
          U.S.C.C.A.N.
                     5757,5758.SeealsoA.P.R.A.,134   F.3dat 56 n3.
          33.McKennon,513U.S.at 357.
          34. Following the dictateof Sure-Tan,amonetaryawardshouldnot inducei
          reentry.Thus,if the worker'slocationis known, the monetaryawardshouldbe
          sentto himlher.

          35. An offer of reinstatementmust comportwith the standardssetforth n EE
          v. Ford Motor Co.,458U.S.2t9 (1982).



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          36. SeeEEOC EnforcementGuidance:After AcquiredEvidence,8 FEP Manual
          405:7331,7335@ec. 14,7995).
          37. SeeSection706(k)of Title Vtr, 42 U.S.C.$ 2000e-5(k);Section16(b)of
          FLSA (EPA),29 U.S.C.$ 216(b);Section7(b)of theADEA, 29 U.S.C.$
          andSection505of theADA, 42 U.S.C.S 1,2206.

                                  and(ii) of Title Yn,42 U.S.C.$$2000e-
          38.SeeSections706(gX2)@Xr)
          s(g)(2)(B)(i),(ii).

         39.SeeSection703(m)of Title Vn,42 U.S.C.$ 2000e-2(m)(iability is
         establishedwhen the complainingparty provesthat a prohibitedfactor motiv
         the adverseaction,eventhoughotherfactorsalsomotivatedthe action).
          40.SeeMcKennonv.NashvilleBannerPublishingCo.,5L3U.S.352,361-62
         (1995)(the fact that the employercouldhaveterminatedthe employeefor
         misconductis irrelevantto liability if the employerwasnot motivatedby such
         misconduct;only the remedyis affected). SeealsoEEOC EnforcementGui,
         lfter-Acquired Evidence,8 FEPManual405:7331,       @ec. 14, 1995).
          41. Section706(eX2XB)(ii)of Title VII, 42 U.S.C.$ 2000e-5(sX2XBXii).

          42.McKennon,513U.S. at 360 (if errployercanprovethat it would have
          terminatedthe employeewhenit leamedof specificmisconduct,it neednot
          reinstateher andthe back pay periodwill endon the datethat the employer
          discoveredthe evidence).

          43.SeeEEOC EnforcementGuidance:After-AcquiredEvtdence,8 FEP Manual
          405:7331,7333-37(Dec. 14,1995)(explainingeflectof after-acquired
                                                                         evi
          on backpay anddamages).




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          The U.S.Equal EmploymentOpportunityCommission




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                         Questions& Answers
                EnforcementGuidanceon
                  RemediesAvailableto
              IJndocumentedWorkerslJnder
                  FederalEmployment
                  DiscriminationLaws
          This guidanceexplainsthe availability of remediesunderTitle MI, the Age
          Disqriminationin EmploymentAct, the AmericansWith Disabilities Act and
          EqualPayAct wherean employerhasunlawfully discriminatedagainst
          undocumentedworkers.The guidancesupersedes      "Policy Guidance:Eflect of
          ImmigrationReform and Control Act on the RemediesAvailable to
          Undocumented  Aliens UnderTitle VII," N-915.040(April 26,1989).

          Q. Are undocumentedworkersprotectedunderthe federalanti-discrimination
          laws?

          A: Yes. The federalemplolm.entdiscriminationlaws protect all employeesin
          countr5r,including thosewho arenot authorizedtowork.

          Q: Doesn'tthis createa conflict with the immigrationlaws which prohibit
          employersfrom employingunauthoized workers?

          A: No. In fact, enforcingthe civil rights laws on behalf of all workerssupports
          enforcementof the immigration laws,principallythe ImmigrationReform and
          Conhol Act (IRCA). If employerswerenotheld responsiblefor discriminating
          againstunauthorizedworkers,it would sreatean incentivefor unscrupulous
          employersto employand exploit theseworkers.This would directly undermine
          the enforceme,nt of the immigrationlaws by encouragingthe employm.entof
          unauthorizedworkers.It would alsoharm authorizedworkerswho migbt be
          deniedthesejobs or be subjectedto a workplacewhich tolerateddiscrimi

          Q. WhVdid the Commissionchangeits positionfrom the 1989Policy
          A. In 1989,the Commissionconcludedthat,becauseIRCA prohibited
          from employingundocumented     workershiredafterNovember6, 1986,such
                                                  or to backpay for the period when
          workerswere not entitled to reinstate,ment



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         hadnot workedbecauseof a discriminatoryfailure to hire or termination.Such
         workerswere,however,entitledto backpay for anyperiodsin which they were
         working for the errployerbut were discriminatorilyunderpaid.

         Legaldevelopments   since1989persuaded the Commissionthat its position
         regardingbackpay was no longercorrect.In addition,the Commission
         determinedthat it was importantto addressotherimportantlegal developments
         regardingremedies.In particular:
             .   The SecondCircuit Court of Appealsaffirmed a decisionof the
                 LaborRelationsBoard(NLRB v. A.P.R.A.Fuel Oil Group)that
                 unauthorizedworkersareeligible for backpay underthe National
                 RelationsAct (NLRA) andthat backpay shouldonly be cut off after
                 worker leavesthe counfiryandis not eligible to return.The court also
                 stressed that imposingmonetarypenalties  on employerswho violated
                 1awbestservedthe goalsof theNLRA andwas fully consistentwith
                 goalsof the immigrationlaws.The Commissionconcludedthatbecause
                 Title VII's backpayprovisionwasmodeledon the NLRA, the same
                 analysisshouldapply.
             .   Congressenactedthe Civil RightsAct of 1991,which
                    .   providedthat Title VII is violatedwhen a prohibitedfactor
                        motivatedthe employer'saction,evenif other,lawful factors-
                        asunauthorizedimmigrationstatus- alsomotivatedthe action;
                    '   providedfor compensatoryandpunitive damagesunderTitle
                        andthe ADA basedon Congress'finding that damagesare
                                                 victims of discimination andto
                        necessarytoboth compensate
                        deterfuture violations.
             .    The SupremeCourt'sdecisionin McKennonv. Nashville Banner
                 PublishingCo. madeclearthat an employeris responsiblefor its
                 discriminatoryactions-- evenif, afterthe action,the eirrployerdi
                 information that would havejustified the actionon other,
                 nondiscriminatorygrounds.UnderMcKennon,an employer'sdiscovery
                 that aworker is undocumentedwill not protectit from liability for a
                 discriminatoryactionit previouslytook with regardto that worker.

          Q. What remediesare availableunderthe laws enforcedby the Commission?
          A. The basicrsmediesavailableundertheselaws arereinstatementif the
          employeewasunlawfullyterminated,instate,ment  if the employeewas
          discriminatorilydenieda job, backpay,otherappropriateiqjunctive relief,
          damages,and attorneys'fees.




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         Q: Are undocumentedworkersentitledto the sameremediesavailableto all
         workersfor violations of the laws enforcedby the Commission?

         A. Yes, exceptfor the very limited situationwherethe awardwould conflict
         the purposesof immigrationlaws.

          Q. How might an awardconflict with the purposesof immigration laws?
         A. An awardthat eircouragesemployersto knowingly employunauthorized
         workers,or that encourages  workersto illegally reenterthe coun@, would
         conflict with the immigration laws. Otherwise,awardsthat compensate
         forunlawful discriminationwill fur*rerthepurposesofboth the civil rights
         theimmigration laws.

          Q. What arethe limitations on relief forunauthorizedworkers?
          A. The following narow limitations apply:
             .    An unauthorizedworker is not eligible for backpay for the period after
                 the unauthorizedworker leavesthe county andis not legally eligible to
                 renrn.
             .    If an employerknows that aworker who washired afterNoverrber 6,
                 1986is unauthorized.reinstatementof that worker canbe conditioned
                 the worker being ableto satisff IRCA's verification requirements
                 reasonable periodof time.
                    .    This condition doesnot applyto workerswho were employed
                        the employeron or beforeNove,nrber 6, 1986,becauseIRCA
                        not requiree,nrployers
                                             to seekwork  authoizatron documents
                        thoseworkers.
          Theseexcqrtionsdo not apply to workerswho havebeendiscriminatorily
          underpaidwhile ernployed,harassed,not promoted,or otherwisediscriminated
          againstin the termsand conditionsof employment.They are entitledto fuIl
          pay andappropriatedamages.la all othercircumstances,unauthonzdworkers
          areentitledto the sameremediesto which all otherworkersare entitled.

          Q: Do otherlimitations on remediesapplyto unauthorizedworkers?
          A: Generallyapplicablelimitations on the availability of certainremedies
          equallyto unauthorizedworkersasall otherworkers.In "mixed motive" cases,
          an employercanshowit would havetakenthe sameactionagainstthe worker
          evenabsentthe discrimination,the employeris not requiredto reinstatethe
          employeeor paybackpay or damages.     In "after-acquired evidence"cases,if,
          the employertakesa discriminatoryactionagainstan employee,the employer
          learnsthat the eilployee hasengagedin wrongdoingfor which the employer


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         would havetakenthe sameaction.remediesmaybe limited. In both mixed
         andafter-acquiredevidencecases,however,the employerremainsfully liable
         the wrongdoing.

          Q. Are unauthorizedworkersprotectedby the retaliationprinciplesof the
          antidiscriminationlaws?
         A. Yes. Suchworkersareparticuladyvulnerableto threatsto report thein to the
         INS or other forms of retaliationandEEOCtakesthe concemof retaliation
         seriously.
             .   It is unlawful to threatento report,or to report a worker to INS because
                 worker opposedunlawful discriminationor participatedin a proceeding
                 underthe anti-discriminationlaws.
             .   Wherethe employerappearsto haveacquiredinformation abouta
                 worker'sunauthorizedstatusafterthat worker complainedof
                 discrimination,the Commissionwill investigatewhetherthe r
                 was acquiredthrougha retaliatoryinvestigation.

          If anunauthorizedworker is retaliatedagainst that worker is entitledto
          without regardto his or her work status.

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